Case 2:04-cr-20392-SH|\/| Document 80 Filed 05/17/05 Page 1 of 2 Page|D 107

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UNITED STATES oF AMERIC W\j_? ,_~___~

 

v.
04-20392-01-Ma
DELOIS HARRIS

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on 5 / *») 1 5 , the United States Attorney
for this district appeared on behalf of the government, and the defendant appeared in person and With
counsel:

 

NAME C\\LJ¥!€_LC;‘:> i»t) /Cl-LY) mar w Who is Retained/Appointed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty_

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, who is not in custody, may stand on his present bond.
/ The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held Without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal,

g 72;??/4~( (@_z

UNITED STATES MAGISTRATE IUDGE

 

CHARGES:18:1343 &2; 18:1341&2;1811028 &2;18:1029&2;

U. S. Attorney assigned to Case: C. McMullen

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Notice of Distribution

This notice confirms a copy of the document docketed as number 80 in
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Honorable Samuel Mays
US DISTRICT COURT

